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                          1   THOMAS P. QUINN, JR. (State Bar No. 132268)
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                              410 BROADWAY, SUITE 200
                          3   LAGUNA BEACH, CA 92651
                          4   Tel: (949) 376-3500
                              Fax: (949) 376-3070
                          5
                              Email: tquinn@nokesquinn.com
                          6   Attorneys for Defendant EQUIFAX INFORMATION SERVICES LLC
                          7
                                                 IN THE UNITED STATES DISTRICT COURT
                          8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                          9
                              KENNETH THOMAS PEREZ,                    )   Case No: 2:16-cv-02605-DSF-AJW
                      10                                               )
                                                                       )
                      11                      Plaintiff,               )
                                                                       )   NOTICE OF SETTLEMENT
                      12                                               )   BETWEEN PLAINTIFF AND
                              vs.                                      )
                      13                                               )   DEFENDANT EQUIFAX
                                                                       )   INFORMATION SERVICES LLC
                      14      COLLECTION BUREAU                        )
                              ASSOCIATES, et al.,                      )
                      15                                               )
                                                                       )
                      16                                               )
                                              Defendants.              )
                      17
                      18              PLEASE TAKE NOTE THAT Plaintiff Kenneth Thomas Perez

                      19      (“Plaintiff”) and Defendant Equifax Information Services LLC (“Equifax”) have
                      20
                              reached an agreement on all material terms required to settle all of Plaintiff’s
                      21
                      22      claims against Equifax pending in this action.
                      23
                                      The parties anticipate that the performance of the terms of the settlement
                      24
                      25      agreement will be completed within thirty (30) days of the date of this notice, at
                      26
                              which time the parties shall file a Stipulation for Dismissal with Prejudice of the
                      27
                              claims asserted against Equifax.
                      28

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   NOKES & QUINN
410 Broadway, Suite 200
                                                              NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
Laguna Beach, CA 92651
    (949) 376-3500
                                                             DEFENDANT EQUIFAX INFORMATION SERVICES LLC
                              DMSLIBRARY01\28991040.v1
                  Case 2:16-cv-02605-DSF-AJW Document 12 Filed 06/01/16 Page 2 of 4 Page ID #:52



                          1           Respectfully submitted this June 1, 2016
                          2                                          NOKES & QUINN
                          3
                                                                     /s/ Thomas P. Quinn, Jr.
                          4                                          THOMAS P. QUINN, JR.
                                                                     Attorneys for Defendant
                          5                                          EQUIFAX INFORMATION SERVICES
                                                                     LLC
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   NOKES & QUINN
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                                                             DEFENDANT EQUIFAX INFORMATION SERVICES LLC
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                  Case 2:16-cv-02605-DSF-AJW Document 12 Filed 06/01/16 Page 3 of 4 Page ID #:53



                          1
                                                          CERTIFICATE OF SERVICE
                          2
                          3           I, the undersigned, certify and declare that I am over the age of 18 years,
                          4   employed in the County of Orange, State of California, and not a party to the
                          5   above-entitled cause.
                          6           On June 1, 2016, I served a true copy of NOTICE OF SETTLEMENT
                          7   BETWEEN PLAINTIFF AND DEFENDANT EQUIFAX INFORMATION
                          8   SERVICES LLC;
                          9           [ ]     By personally delivering it to the persons(s) indicated below in the
                      10      manner as provided in Federal Rule of Civil Procedure 5(B);
                      11              [ X ] By depositing it in the United States Mail in a sealed envelope with the
                      12      postage thereon fully prepaid to the following:
                      13              See Attached Service List
                      14              [X]     By ECF: On this date, I electronically filed the following document(s)
                      15      with the Clerk of the Court using the CM/ECF system, which sent electronic
                      16      notification of such filing to all other parties appearing on the docket sheet;
                      17              I hereby certify that I am employed in the office of a member of the Bar of
                      18      this Court at whose direction the service was made.
                      19              I hereby certify under the penalty of perjury under the laws of the State of
                      20      California that the foregoing is true and correct.
                      21                                                /s/ Thomas P. Quinn, Jr.
                      22                                                THOMAS P. QUINN, JR.
                      23      Place of Mailing: Laguna Beach, California.
                      24      Executed on June 1, 2016, at Laguna Beach, California.
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   NOKES & QUINN
410 Broadway, Suite 200
                                                                 NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
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                                                                DEFENDANT EQUIFAX INFORMATION SERVICES LLC
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                  Case 2:16-cv-02605-DSF-AJW Document 12 Filed 06/01/16 Page 4 of 4 Page ID #:54



                          1                                  SERVICE LIST
                          2
                          3   Kenneth Thomas Perez
                          4   General Delivery
                              535 Box Canyon Road
                          5   Canoga Park, CA 91304-9998
                          6   Pro Se Plaintiff
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                                                           DEFENDANT EQUIFAX INFORMATION SERVICES LLC
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